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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division



HELEN MARIE TAYLOR et al.,

                      Plaintiffs,

v.                                                           Case No. 3:20-cv-00440

RALPH S. NORTHAM et al.,

                      Defendants.


                          NOTICE OF VOLUNTARY DISMISSAL

        NOTICE IS HEREBY GIVEN that, pursuant to Federal Rule of Procedure 41(a),

Plaintiffs Helen Marie Taylor, John doe, Joseph Doe, Sally Doe, Charles Doe and Thomas Doe,

by counsel, voluntarily dismiss the above-styled action without prejudice against Defendants

Ralph S. Northam, Virginia Secretary of Administration, Director of the Virginia Department of

General Services, and Director of the Virginia Division of Engineering & Buildings.

This notice is being filed with the Court before service of either an answer or motion for

summary judgment.

Dated June 17, 2020

                                                     HELEN MARIE TAYLOR
                                                     JOHN DOE
                                                     JOSEPH DOE
                                                     SALLY DOE
                                                     CHARLS DOE
                                                     THOMAS DOE




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                                              s/Patrick M. McSweeney

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                                       Of Counsel




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